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                  5 Facsimile: (310) 312-3100
                  6 Attorneys for Defendants
                    Warner Records Inc., Dua Lipa,
                  7 Clarence Coffee, Jr., Sarah Hudson,
                    and Stephen Kozmeniuk
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                  9                       UNITED STATES DISTRICT COURT
                 10                      CENTRAL DISTRICT OF CALIFORNIA
                 11                              WESTERN DIVISION
                 12 CHRISTOPHER EDWARD COPE,                 CASE NO. 2:22-cv-01384 SSS (ASx)
                    CHRISTOPHER EDWARD
                 13 MONTAGUE, FABIAN ANDRES                  Judge Sunshine Suzanne Sykes
                    ACUNA, ADAM SPENCER KAMPF
                 14 and DENTON BEDWARD,                      JOINT STIPULATION TO (1)
                                                             EXTEND TIME TO FILE AND
                 15              Plaintiffs,                 RESPOND TO AMENDED
                                                             COMPLAINT AND (2) CONTINUE
                 16        v.                                SCHEDULING CONFERENCE
                 17 WARNER RECORDS, INC., a                  Current Response Date (for all
                    Delaware corporation, DUA LIPA, an       Defendants): August 30, 2022
                 18 individual, BOSCO KANTE, an
                    individual, CLARENCE COFFEE, JR.,        New Date to File Amended Complaint:
                 19 an individual, SARAH HUDSON, an          September 20, 2022
                    individual, STEPHEN KOZMENIUK,
                 20 an individual and DOES 1 through 10,     New Response Date (for all
                                                             Defendants): November 14, 2022
                 21              Defendants.
                                                             File Date: March 1, 2022
                 22                                          Trial Date: None Set
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    Mitchell     28
  Silberberg &
   Knupp LLP
                       JOINT STIPULATION TO EXTEND TIME TO FILE AND RESPOND TO AMENDED COMPLAINT
14340923.1
                                         AND TO CONTINUE SCHEDULING CONFERENCE
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                  1        Plaintiffs Christopher Edward Cope, Christopher Edward Montague, Fabian
                  2 Andres Acuna, Adam Spencer Kampf and Denton Bedward (collectively,
                  3 “Plaintiffs”) and Defendants Warner Records Inc., Dua Lipa, Clarence Coffee, Jr.,
                  4 Sarah Hudson and Stephen Kozmeniuk (collectively, “Defendants”), by and
                  5 through their respective counsel, hereby stipulate as follows:
                  6
                  7        WHEREAS, Plaintiffs filed a Complaint against Defendants on March 1,
                  8 2022 (ECF 1);
                  9        WHEREAS, the current deadline for Defendants to respond to the
                 10 Complaint is August 30, 2022 (ECF 47);
                 11        WHEREAS, on August 4, 2022, this Court issued an Order setting a
                 12 Scheduling Conference on November 4, 2022 (ECF 48);
                 13        WHEREAS, the parties have met and conferred concerning the adequacy of
                 14 the allegations of the Complaint and Plaintiffs have agreed to file an Amended
                 15 Complaint on or before September 20, 2022;
                 16        WHEREAS, the parties agree to extend Defendants’ deadline to respond to
                 17 the Amended Complaint to November 14, 2022;
                 18        WHEREAS, the parties agree that the Scheduling Conference should be set
                 19 for a date after Defendants’ response deadline, including because the content of the
                 20 parties’ Joint Rule 26(f) Report may be affected by Defendants’ response to the
                 21 Amended Complaint;
                 22        WHEREAS, for the convenience of the Court and the parties, the parties
                 23 previously extended the deadline for Defendants to respond to the Complaint (ECF
                 24 27, 34, 39 & 47);
                 25        WHEREAS, the requested extension will not alter the date of any other
                 26 event or deadline already fixed by Court order;
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  Silberberg &
   Knupp LLP
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                       JOINT STIPULATION TO EXTEND TIME TO FILE AND RESPOND TO AMENDED COMPLAINT
14340923.1
                                         AND TO CONTINUE SCHEDULING CONFERENCE
             Case 2:22-cv-01384-SSS-AS Document 49 Filed 08/24/22 Page 3 of 4 Page ID #:122



                  1        IT IS HEREBY AGREED AS FOLLOWS:
                  2        1.   Plaintiffs shall have up to and including September 20, 2022 to file an
                  3 Amended Complaint;
                  4        2.   Defendants shall have up to and including November 14, 2022 to
                  5 move, answer or otherwise respond to the Amended Complaint.
                  6        3.   The Scheduling Conference is continued from November 4, 2022 to
                  7 _________________.
                  8
                  9        IT IS SO STIPULATED.
                 10
                      DATED: August 24, 2022            DAVID A. STEINBERG
                 11                                     GABRIELLA N. ISMAJ
                                                        MITCHELL SILBERBERG & KNUPP LLP
                 12
                 13
                 14                                     By: /s/ David A. Steinberg
                                                             David A. Steinberg
                 15                                          Attorneys for Defendants
                                                             Warner Records Inc., Dua Lipa,
                 16                                          Clarence Coffee, Jr., Sarah Hudson,
                                                             and Stephen Kozmeniuk
                 17
                 18 DATED: August 24, 2022              ROBERT S. BESSSER
                                                        LAW OFFICES OF ROBERT S. BESSER
                 19
                 20
                                                        By: /s/ Robert S. Besser
                 21                                          Robert S. Besser
                                                             Attorneys for Plaintiffs
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  Silberberg &
   Knupp LLP
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                       JOINT STIPULATION TO EXTEND TIME TO FILE AND RESPOND TO AMENDED COMPLAINT
14340923.1
                                         AND TO CONTINUE SCHEDULING CONFERENCE
             Case 2:22-cv-01384-SSS-AS Document 49 Filed 08/24/22 Page 4 of 4 Page ID #:123



                 1                   ATTESTATION REGARDING SIGNATURES
                 2         I, David A. Steinberg, attest that all signatories listed, and on whose behalf
                 3 the filing is submitted, concur in the filing’s content and have authorized the filing
                 4
                 5    DATED: August 24, 2022                       /s/ David A. Steinberg
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                      JOINT STIPULATION TO EXTEND TIME TO FILE AND RESPOND TO AMENDED COMPLAINT
14340923.1
                                        AND TO CONTINUE SCHEDULING CONFERENCE
